   Case 2:10-md-02179-CJB-DPC Document 6096-1 Filed 03/22/12 Page 1 of 1




                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig        * MDL 2179
                                       *
“DEEPWATER HORIZON” in the             * SECTION J(2)
                                       *
Gulf of Mexico on April 20, 2010       * JUDGE BARBIER
                                       *
This Document Applies to:              * MAGISTRATE JUDGE WILKINSON
No. 12-179 c/w 12-259                  *
(This document applies to 12-259 ONLY) *
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                                           ORDER

       For the reasons set forth in the Opposition to Defendant’s Motion to Dismiss,

       IT IS ORDERED, ADJUDGED, AND DECREED that Epic Diving & Marine

Services, LLC’s Motion to Dismiss is DENIED.

       New Orleans, Louisiana this ________ day of _______________ 2012.



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